
In Re Fisher, Azell; — Plaintiff; Applying For Supervisory and/or Remedial *364Writs, Parish of Union, 3rd Judicial District Court Div. B, No. 26,691; to the Court of Appeal, Second Circuit, No. 47101-KH.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172. See also State v. Cotton, 09-2397 (La.10/15/10), 45 So.3d 1030; State v. Thomas, 08-2912, (La.10/16/09), 19 So.3d 466.
